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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS, et
 al.,

     Plaintiffs,

     v.                                                              Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.


                       DECLARATION OF MICHAEL R. HIRMAN, ESQ.

I, Michael R. Hirman, upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am an attorney in good standing of the State Bars of California and Minnesota. I have

          practiced immigration law, including removal defense, for more than 20 years, and I am

          the president of the East County San Diego Bar Association. I represent a client, R.J.L.B.,

          who was paroled into the United States and was later processed for expedited removal.

   3. R.J.L.B. is a national of Venezuela and an officer in the Venezuelan military who is in the

          process of defecting to the United States. As part of his military service in Venezuela,

          R.J.L.B. was trained in Cuba. He therefore possesses highly classified intelligence on

          both Cuba and Venezuela. Since R.J.L.B. was detained by U.S. Immigration and Customs

          Enforcement (ICE) in connection with their efforts to subject him to expedited removal,

          information has gotten to the Venezuelan government. His home in Venezuela is now

          under surveillance and agents of the Venezuelan government have begun to follow his

          family members around. R.J.L.B. is certain that if he is forced to return to Venezuela, he
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   will be killed at the very least for deserting the Venezuelan Army, and because he

   opposed and refused to obey orders of a superior officer.

4. On January 17, 2025, R.J.L.B. presented at the San Ysidro port of entry for inspection at

   a scheduled CBP One appointment. After inspection, he was granted parole into the

   United States. At the same time, he was issued a Notice to Appear that required him to

   present to the San Diego Immigration Court on February 24, 2025.

5. After R.J.L.B. was paroled into the United States, he resided in California, staying with

   extended family in San Diego.

6. When R.J.L.B. first appeared in Immigration Court on February 24, 2025, he was given a

   continuance to obtain an attorney. His next hearing was set for May 21, 2025. R.J.L.B.,

   submitted his I-589 application for asylum and supporting documents to the San Diego

   Immigration Court on February 21, 2025.

7. On Wednesday, May 21, 2025, R.J.L.B. attended his second Immigration Court hearing.

   As soon as I entered an appearance as R.J.L.B.’s counsel, the Trial Attorney for the

   Department of Homeland Security made an oral motion to terminate the case. The motion

   was not accompanied by any writing, declaration, or memorandum of points and

   authorities. I did not oppose the motion because in my usual experience, the government

   attorney moves to dismiss this way because they believe USCIS can handle the matter as

   the Respondent has a good case and is likely to be able to establish eligibility for relief in

   the form of asylum. At no time did the DHS attorney or the Immigration Judge state that

   the dismissal would result in “expedited removal.” R.J.L.B., was happy that his matter

   was over and could proceed with his asylum application before USCIS.




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8. However, as soon as he got into the hallway outside of the courtroom, ICE enforcement

   officers surrounded him and arrested him. When we told them there was no Notice to

   Appear anymore because it was dismissed by the court, ICE stated they were removing

   R.J.L.B. through expedited removal. Both R.J.L.B. and I were blindsided by this.

9. We informed ICE that R.J.L.B. is an officer in the Venezuelan military and was in the

   process of defecting to the United States, and that he was willing, able and ready to join

   the United States military or to work as a clandestine agent for the Central Intelligence

   Agency or the Defense Intelligence Agency. ICE agents were not aware of this

   information and openly scoffed at the idea that R.J.L.B. would be willing to assist the

   U.S. government.

10. Since his detention, we believe that ICE and the CIA have interviewed R.J.L.B., but I do

   not know if ICE has referred him to U.S. Citizenship and Immigration Services for a

   Credible Fear Interview (CFI) or, if he has been referred, whether a CFI has taken place.

   On May 24, 2025, R.J.L.B. applied for a bond hearing with the San Diego Immigration

   court. The results of this are unknown.

11. During the questioning at the detention facility R.J.L.B, has been asked about his training

   in Cuba and the weapons that he has been trained to operate. This might be the one

   conversation that impressed the ICE inspectors as they were fascinated at his weapons

   training.

12. Processing R.J.L.B. for expedited removal is sending him back to a country where he will

   all but certainly be killed. His home in Venezuela is already under surveillance and given

   his role with the military and the classified information he possesses; he is very afraid to

   go back.




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   13. R.J.L.B. will not be able to meaningfully fight for his asylum claim or any other claims

       for relief if he is forced to do so through the expedited removal process and while

       detained. He will lack consistent access to counsel and other resources that will allow

       him to strengthen his case, which means that the merits of his legitimate claims of fear

       will not be assessed fully.

   14. In my more than two decades of practice as an immigration attorney and my regular

       contact with other immigration attorneys in the San Diego area, I have never seen the

       government move to dismiss an immigration case in the immigration courts so that the

       individual could instead be arrested and processed for expedited removal. I have also

       never seen the government place an individual paroled into the country in expedited

       removal.


     I declare under penalty of perjury and under the laws of the United States that the foregoing
is true and correct to the best of my knowledge.


                                                 Executed in La Mesa, California on June 3, 2025.



                                                                       s/Michael R. Hirman
                                                                     Michael R. Hirman, Esq.
                                                                     Attorney for R.J.L.B.




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